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                     IN THE UNITED STATES DISTRICT FOR THE
                         SOUTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION



HENRY JOINER,                                :

       Plaintiff,                            :

vs.                                          :   CIVIL ACTION 05-0501-CG-B

CITY OF GREENSBORO, et al.,                  :

       Defendants.                           :



                                       JUDGMENT


       It is ORDERED, ADJUDGED, and DECREED that plaintiff’s complaint be and is hereby

DISMISSED without prejudice for failure to prosecute.

       DONE and ORDERED this 29th day of November, 2005.


                                          /s/ Callie V. S. Granade
                                          CHIEF UNITED STATES DISTRICT JUDGE
